     Case 1:23-cv-05072-MLB     Document 46-15      Filed 01/09/25   Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DAVID C. WARTH,

      Plaintiff,                              CIVIL ACTION FILE NO.
                                              1:23-cv-05072-MLB
v.

THOMAS WILLIAMSON,

 Defendant.



       DEFENDANT’S INDEX OF EXHIBITS TO STATEMENT OF
     UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR
                    SUMMARY JUDGMENT
1.     Ex. A – David Warth Deposition Excerpts;

2.     Ex. B – Thomas Williamson Deposition Excerpts;

3.     Ex. C – Brian Warth Deposition Excerpts;

4.     Ex. D – Thomas Williamson Affidavit;

5.     Ex. E – Brittney Dewy Deposition Excerpts;

6.     Ex. F – Preliminary Hearing Recording (filed manually);

7.     Ex. G – Order Withdrawing Guilty Plea;

8.     Ex. H – June 2017 Indictment

9.     Ex. I – Sentencing February 2017;

10. Ex. J -William Brogdon Affidavit
    Case 1:23-cv-05072-MLB    Document 46-15     Filed 01/09/25   Page 2 of 5




     Respectfully submitted this 9th day of January, 2025


                                            PEREIRA, KIRBY,
                                            KINSINGER & NGUYEN, LLP
                                            s/ Stephen D. Pereira
P.O. Drawer 1250                            Stephen D. Pereira
Lawrenceville, GA 30046                     State Bar No. 572051
(770) 963-1997 telephone                    W. Creighton Lancaster
(770)822-2913 facsimile                     State Bar No. 142351
spereira@pkknlaw.com                        Jaaonne J. Gadson-Jackson
wlancaster@pkknlaw.com                      State Bar No. 279689
jjackson@pkknlaw.com                        Counsel for Defendant Williamson




                                      -2-
    Case 1:23-cv-05072-MLB    Document 46-15    Filed 01/09/25   Page 3 of 5




      Counsel for the Defendant certifies by signature below that DEFENDANT’S
INDEX OF EXHIBITS TO STATEMENT OF UNDISPUTED MATERIAL
FACTS IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT has been
prepared with Times New Roman 14-point font as required by Local Rule 5.1.
                                           /s/ Stephen D. Pereira
                                           Stephen Pereira
                                           Gar Bar No. 572051
                                           Attorney for Defendant




                                     -3-
       Case 1:23-cv-05072-MLB     Document 46-15      Filed 01/09/25   Page 4 of 5




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  DAVID C. WARTH,

       Plaintiff,                                CIVIL ACTION FILE NO.
                                                 1:23-cv-05072-MLB
  v.

  THOMAS WILLIAMSON,

  Defendant.



                           CERTIFICATE OF SERVICE
        I hereby certify that I have this day electronically submitted the foregoing

DEFENDANT’S INDEX OF EXHIBITS TO STATEMENT OF UNDISPUTED

MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY

JUDGMENT to the Clerk of Court using the CM/ECF system which will

automatically send electronic mail notification of such filing to counsel of record

who are CM/ECF participants. Counsel of record are:
    Case 1:23-cv-05072-MLB    Document 46-15    Filed 01/09/25   Page 5 of 5




                 Kamu K. Mason, Esq.
                 3036 Woodrow Drive
                 Lithonia, GA 30038


                 Reginald L. Winfrey, Esq.
                 The CD FIRM, LLC
                 P.O. Box 18862
                 Atlanta, GA 31126

     This 9th day of January, 2025



                                           PEREIRA, KIRBY,
                                           KINSINGER & NGUYEN, LLP
                                           s/ Stephen D. Pereira
P.O. Drawer 1250                           Stephen D. Pereira
Lawrenceville, GA 30046                    State Bar No. 572051
(770) 963-1997 telephone                   W. Creighton Lancaster
(770)822-2913 facsimile                    State Bar No. 142351
spereira@pkknlaw.com                       Jaaonne J. Gadson-Jackson
wlancaster@pkknlaw.com                     State Bar No. 279689
jjackson@pkknlaw.com                       Counsel for Defendant Williamson




                                     -5-
